                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT WINCHESTER

FREEMAN M. FROTHINGHAM, JR., AS    )
EXECUTOR OF THE ESTATE OF AND FOR  )
USE AND BENEFIT OF THE STATUTORY   )
BENEFICIARIES OF FREEMAN M.        )
FROTHINGHAM, SR., DECEASED         )
                                   )
              PLAINTIFF,           )                       NO. 4:12-cv-00035
                                   )                       JURY DEMANDED
v.                                 )
                                   )
GGNSC WINCHESTER, LLC d/b/a Golden )
Living Center-Mountain View; GPH   )
WINCHESTER, LLC; GGNSC EQUITY      )
HOLDINGS, LLC; GGNSC CLINICAL      )
SERVICES, LLC; GOLDEN GATE         )
NATIONAL SENIOR CARE, LLC; GGNSC   )
ADMINISTRATIVE SERVICES, LLC;      )
GOLDEN GATE ANCILLARY, LLC; GGNSC )
HOLDINGS, LLC; AND 360 HEALTHCARE )
STAFFING, LLC,                     )
                                   )
              DEFENDANTS.          )

                  STIPULATION AND AGREED ORDER OF DISMISSAL

         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and Local Rule 68.1, the

Plaintiff, Freeman M. Frothingham, Jr., as Executor of the Estate of and For Use and Benefit of

the Statutory Beneficiaries of Freeman M. Frothingham, Sr., Deceased, and Defendants, GGNSC

Winchester, LLC d/b/a Golden LivingCenter-Mountain View; GPH Winchester, LLC; GGNSC

Equity Holdings, LLC; GGNSC Clinical Services, LLC; Golden Gate National Senior Care,

LLC; GGNSC Administrative Services, LLC; Golden Gate Ancillary, LLC; GGNSC Holdings,

LLC; and 360 Healthcare Staffing, LLC (“Defendants”), by and through counsel, announce to

the Court that all matters here in controversy between them have been compromised and settled




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out of Court, and that Plaintiff, for valuable consideration, has executed a Release in full and

final settlement of all of his claims against Defendants, including any and all subrogation

interests or liens, if any, arising out of the matters here in controversy. It is therefore:

         ORDERED that Plaintiff's cause of action should be dismissed as to all Defendants with

full prejudice to Plaintiff against the re-filing of the same and that Defendants be relieved from

any and all further responsibility in this matter. It is further ORDERED that Plaintiff shall

satisfy any and all present or future liens of any kind, known or unknown, which may relate to

the settlement proceeds. Each party will bear its own costs and attorney’s fees.

         ENTER:                     s/ Susan K. Lee
                                    SUSAN K. LEE
                                    UNITED STATES MAGISTRATE JUDGE

AGREED TO AND APPROVED BY:

THE RHODEN FIRM

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         Attorneys for Plaintiff




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BAKER, DONELSON, BEARMAN,
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         LLC d/b/a Golden LivingCenter-Mountain View;
         GPH Winchester, LLC; GGNSC Equity Holdings,
         LLC; GGNSC Clinical Services, LLC; Golden
         Gate National Senior Care, LLC; GGNSC
         Administrative Services, LLC; Golden Gate
         Ancillary, LLC; GGNSC Holdings, LLC; and
         360 Healthcare Staffing, LLC




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                                 CERTIFICATE OF SERVICE

         I certify that on July 28, 2014, a copy of the foregoing was filed electronically. Notice of
this filing will be sent by operation of the Court’s electronic filing system to all parties indicated
on the electronic filing receipt.


                                                      BAKER, DONELSON, BEARMAN,
                                                       CALDWELL & BERKOWITZ, P.C.


                                                      By: /s/Amanda E. Kelley
                                                          Amanda E. Kelley




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